                       Case 4:14-cr-00191-BSM                    Document 969             Filed 05/15/17          Page 1 of 7
                       Judgment in a Criminal Case
                                                                                                                               FILED
                                                                                                                            U.S. DISTRICT COURT
                       SJicct 1                                                                                         EASTERN DISTRICT ARKANSAS

                                                                           MAY 15 2017
                                         UNITED STATES DISTRICT COURTJAMESW. c      c                                                                 ERK
                                                            Eastern District of Arkansas                        By: __-+--+++---lif:.-....,..,,..,,,.......--
                                                                           )
                 UNITED STATES OF AMERICA                                  )
                                  v.                                       )
                                                                           )
                       JENNIFER JAMES                                              Case Number: 4:14CR00191-11 JLH
                                                                           )
                                                                           )       USM Number: 28776-009
                                                                           )
                                                                           )        Patrick Benca/John Kennedy
                                                                           )       Defendant's Attorney
THE DEFENDANT:
SZI pleaded guilty to count(s)         Count 36 of Indictment

0 pleaded nolo contendere to count(s)
      which was accepted by the court.
Owas found guilty on count(s)
· after a plea of not guilty.

'the defendant is adjudicated guilty of these offenses:

Jitle & Section                  Nature of Offense                                                           Offense Ended
     21 U.S.C. § 841(a)(1)         Possession with intent to distribute methamphetamine,                      4/19/2013                      36

                                       a Class B felony



       The defendant is sentenced as provided in pages 2 through          __7_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
[I The defendant has been found not guilty on count(s)
li[Zf Count(s)    1, 37, and 38                           D is     lil1' are dismissed on the motion of the United States.
 I
 1
          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any: change of name, residence,
qr mailing address until all fines, restitution, costs, and special assessments in;iposed by this judgment are fully paid. Ifordered to pay restitution,
tlle defen<hmt must notify the court and United States attorney of material crumges in econoIDic circumstances.

                                                                           5/15/2017
                                                                          Date of Imposition of Judgment




                                                                          .JJ.,lte~
                                                                          J. Leon Holmes, United States District Judge
                                                                          Name and Titlc of Judge


                                                                          5/15/2017
                                                                          Date
                       Case 4:14-cr-00191-BSM              Document 969            Filed 05/15/17         Page 2 of 7
.t.O 245B (Rev. 11/16) Judgment in Criminal Case
  '                    Sheet 2 - Imprisonment

                                                                                                                   2_ of
                                                                                                   Judgment-Page _ _       7
IDEFENDANT: JENNIFER JAMES
!CASE NUMBER: 4:14CR00191-11 JLH

                                                          IMPRISONMENT

          The defendant is hereby committed to the custody of the Federal Bmeau of Prisons to be imprisoned for a total
term of:
60 MONTHS




     liZ! The court makes the following recommendations to the Bmeau of Prisons:
fhe Court recommends the defendant participate in nonresidential substance abuse treatment, and educational and vocational
programs during incarceration. The Court further recommends placement in the FPC Bryan, Texas, facility so as to remain
close to her son.


     D The defendant is remanded to the custody of the United States Marshal.

     D The defendant shall surrender to the United States Marshal for this district:
          D at
                     -------.,..--- D a.m.                   D p.m.      on
          D as notified by the United States Marshal.

     ~ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          l!f before 2 p.m. on          7/17/2017

          D as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                RETURN
i

• have executed this judgment as follows:




         Defendant delivered on                                                        to

a - - - - - - - - - - - - - - , with a certified copy of this judgment.

                                                                                               UNITED STA'IES MARSHAL



                                                                        By --------------------~
                                                                                DEPUTY UNITED STA'IES MARSHAL
l,.,.                    Case 4:14-cr-00191-BSM
           (R<v. 11/16) Judgment in a Criminal Case
                         Sheet 3 - Supervised Release
                                                               Document 969            Filed 05/15/17          Page 3 of 7


                                                                                                           Judgment-Page          of
PEFENDANT: JENNIFER JAMES
~ASE NUMBER: 4:14CR00191-11 JLH
                                                         SUPERVISED RELEASE
Vpon release from imprisonment, you will be on supervised release for a term of:         FOUR (4) YEARS



                                                        MANDATORY CONDITIONS
l.      You must not commit another federal, state or local crime.
l.      You must not unlawfully possess a controlled substance.
3.      You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
        imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                  D The above drug testing condition is suspended, based on the court's determination that you
                     pose a low risk of future substance abuse. (check if applicable)
4.       l!1' You must cooperate in the collection of DNA as directed by the probation officer. (check ifapplicable)
$.       D You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as
              directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
              reside, work, are a student, or were convicted of a qualifying offense. (check ifapplicable)
~-       D You must participate in an approved program for domestic violence. (check ifapplicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
~age.
                        Case 4:14-cr-00191-BSM                  Document 969             Filed 05/15/17          Page 4 of 7
AO 2458 (Rev. 11/16)
1
                         Judgment in a Criminal Case
                         Sheet 3A - Supervised Release
I
                                                                                                   Judgment-Page _ _4'--- of _ __...:_]_ __
:DEFENDANT: JENNIFER JAMES
!CASE NUMBER: 4:14CR00191-11 JLH

                                         STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
ibecause they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
~officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

    1.   You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
         release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
I        ~.                                                            •

2.       After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
         when you must report to the probation officer, and you must report to the probation officer as instructed.
3.       You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
         court or the probation officer.
4.       You must answer truthfully the questions asked by your probation officer.
,5.      You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
         arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
         the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
         hours of becoming aware of a change or expected change.
~·       You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
         take any items prohibited by the conditions of your supervision that he or she observes in plain view.
!.       You must work :full time (at least 30 hours per week) at a law:fu.l type of employment, unless the probation officer excuses you from
         doing so. If you do not have :full-time employment you must try to find :full-time employment, unless the probation officer excuses
         you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
         responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
         days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
         becoming aware of a change or expected change.
8.
1
         You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
         convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
         probation officer.
9.       If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
il 0.    You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
         designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
!11.     You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
         first getting the permission of the court.
12.      If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
         require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
I        person and confirm that you have notified the person about the risk.
13.      You must follow the instructions of the probation officer related to the conditions of supervision.



1U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
f?..elease Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                        Date
                                                                                                                    ----------~
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AO 24SB (Rev. 11116)   Judgment in a Criminal Case
                       Sheet 3B - Supervised Release
                                                                                          Judgment-Page    5    of       7
DEFENDANT: JENNIFER JAMES
CASE NUMBER: 4:14CR00191-11 JLH

                                     ADDITIONAL SUPERVISED RELEASE TERMS
  14) The defendant must participate, under the guidance and supervision of the probation officer, in a substance abuse
  treatment program which may include drug and alcohol testing, outpatient counseling, and residential treatment. The
  defendant must abstain from the use of alcohol throughout the course of supervision. The defendant will pay for the cost of
: treatment at the rate of $1 O per session, with the total cost not to exceed $40 per month, based on ability to pay as
1
  determined by the probation office. In the event the defendant is financially unable to pay for the cost of treatment, the
  co-pay requirement will be waived.
~24SB                Case 4:14-cr-00191-BSM
        (Rcv.11/16) Judgment in a Criminal Case
                    Sheet S - Criminal Monetary Penalties
                                                               Document 969                Filed 05/15/17     Page 6 of 7

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DEFENDANT: JENNIFER JAMES
;CASE NUMBER: 4:14CR00191-11 JLH
                                             CRIMINAL MONETARY PENALTIES
    The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                      Assessment                 JVTA Assessment*                Fine                       Restitution
'TOTALS           s 100.00                    s 0.00                           s 0.00                   s 0.00

:o The determination of restitution is deferred until - - - - • An Amended Judgment in a Criminal Case (AO 245C) will be entered
    after such determination.

D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportion~4 P.aYJ!!ent, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 36b4(.1), all nonfederal victims must be paid
    before the United States is paid.

, Name of Payee                                                             Total Loss**       Restitution Ordered Priority or Percentage




rroTALS                                                               s                 0.00 s- - - - - -
                                                                                                        0.00
                                                                                                          -


D    Restitution amount ordered pursuant to plea agreement $

D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

D    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     D the interest requirement is waived for the            D fine       D restitution.
     D the interest requirement for the          D    fine    0   restitution is modified as follows:

~Justice for Victims of Trafficking Act of2015, Pub. L. No. 114-22.


r
~* Findings for the total amount oflosses are required under Chapters 109A, 110, l lOA, and l 13A of Title 18 for offenses committed on or
 fter September 13, 1994, but before April 23, 1996.
lo   2458 (Rev. 11/16)
                         Case 4:14-cr-00191-BSM
                         Judgment in a Criminal Case
                         Sheet 6 - Schedule of Payments
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                                                                                                              Judgment-Page        7      of          7
DEFENDANT: JENNIFER JAMES
CASE NUMBER: 4:14CR00191-11 JLH

                                                          SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A       ~    Lump sum payment of$           100.00               due immediately, balance due

             D      not later than                                   , or
             D      in accordance with     D c,       D    D,   D     E,or      D Fbelow;or
B       D    Payment to begin immediately (may be combined with              DC,         OD, or        D F below); or
C       D Payment in equal                      (e.g., weekly, monthly, quarterly) installments of $                             over a period of
            _ _ _ _ _ (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D       D Payment in equal                           (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
            -----
             term of supervision; or

B       D Payment during the term of supervised release will commence within                     (e.g., 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F       D Special instructions regarding the payment of criminal monetary penalties:




!Unless the court bas expressly ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminal mone!MY penalties is due during
the period of imprisonment. All criminal mone~_pCnalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D       Joint and Several

        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
        and corresponding payee, if appropriate.




D       The defendant shall pay the cost of prosecution.

D       The defendant shall pay the following court cost(s):

D       The defendant shall forfeit the defendant's interest in the following property to the United States:


J>ayments shall be applied in the follow!!ig_order: (1) assessment, (2) restitution principall (3) restitution interest1 (4) fine principal, (5) fine
interest, (6) commumty restitution, (7) JVTA assessment, (8) peruuties, and (9) costs, me uding cost of prosecution and court costs.
